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   1 Eugene P. Ramirez (State Bar No. 134865)
      epr@manningllp.com
   2 Tony M. Sain (State Bar No. 251626)
      tms@manningllp.com
   3 Andrea K. Kornblau (State Bar No. 291613)
      akk@manningllp.com
   4 MANNING & KASS
     ELLROD, RAMIREZ,      th
                              TRESTER LLP
   5 801 S. Figueroa St, 15 Floor
     Los Angeles, California 90017-3012
   6 Telephone: (213) 624-6900
     Facsimile: (213) 624-6999
   7
     Attorneys for Defendants,
   8 COUNTY OF SAN BERNARDINO;
     DEP. SHANDON DEASEY; DEP.
   9 PETER GENTRY; DEP. GARY
     BRANDT; AND SGT. MIKE RUDE
  10
  11
                                                     UNITED STATES DISTRICT COURT
  12
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  13
  14
     DANIELLA SLATER AND DAMIEN                                                             Case No. 5:16-CV-01103-JFW-KK
  15 SLATER, individually and as                                                            [Hon. John F. Walter, District Judge;
     successors in interest, by and through                                                 Hon. Kenly K. Kato, Magistrate Judge]
  16 their Guardian ad Litem Sandra Salazar;
     TINA SLATER AND DAVID
  17 BOUCHARD, individually,                                                                ANSWER OF DEFENDANTS TO
                                                                                            PLAINTIFFS' FIRST AMENDED
  18                                                                                        COMPLAINT: DEMAND FOR
                                   Plaintiff,                                               JURY TRIAL
  19
                     v.
  20                                                                                        Complaint Filed:     May 27, 2016
                                                                                            Trial Date:          October 17, 2017
  21 DEPUTY SHANDON DEASEY;
     DEPUTY PETER GENTRY; DEPUTY
  22 GARY BRANDT; SGT. MIKE RUDE;
     COUNTY OF SAN BERNARDINO;
  23 and DOES 1-10, Inclusive
  24                               Defendant.
  25
  26
  27                 Defendants COUNTY OF SAN BERNARDINO ("County"), DEPUTY
  28 SHANNON DEASEY, DEPUTY PETER GENTRY, DEPUTY GARY BRANDT, and

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    1 SERGEANT MIKE RUDE ("Deputies") (collectively “Defendants”) hereby Answer
    2 plaintiffs' First Amended Complaint on file herein (filed August 7, 2017) – hereinafter
    3 referred to as the “Complaint”) and defendants hereby admit, deny, and allege as
    4 follows:
    5                 1.            Answering paragraph 1 of the Complaint, under the header "Jurisdiction
    6 and Venue": Defendants admit that this Court has jurisdiction under 42 U.S.C. § 1983.
    7 As to the remaining allegations of this paragraph, at present, Defendants do not have
    8 sufficient knowledge, or information or belief, to enable Defendants to answer the
    9 remaining allegations contained within such paragraph, as stated, and on those grounds
  10 deny generally and specifically each and every remaining allegation contained therein.
  11                  2.            Answering paragraph 2 of the Complaint, under the header "Jurisdiction
  12 and Venue": Defendants admit that claims arising from events that occurred in the
  13 County of San Bernardino, California may be brought before the venue of this Court.
  14                  3.            Answering paragraph 3 of the Complaint, under the header "Jurisdiction
  15 and Venue": Defendants admit that claims for damages were presented to the County of
  16 San Bernardino pursuant to California Government Code § 911.2 by:
  17                                              Sandra [Salazar] Slater (sic);
  18                                              Sandra Salazar, on behalf of Daniella Slater, a minor;
  19                                              Tina Slater; and
  20                                              David Bouchard.
  21                  Defendants specifically deny that a claim pursuant to California Government
  22 Code § 911.2 was presented on behalf of Damien Slater, a minor. As to the remaining
  23 allegations of this paragraph, at present, Defendants do not have sufficient knowledge,
  24 or information or belief, to enable Defendants to answer the remaining allegations
  25 contained within such paragraph, as stated, and on those grounds deny generally and
  26 specifically each and every remaining allegation contained therein.
  27                  4.            Answering paragraph 4 of the Complaint, under the header "Preliminary
  28 Allegations": Defendants admit that an incident occurred in the County of San

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    1 Bernardino at a Valero gas station, located at 27767 Baseline Road in Highland,
    2 California, and that it was recorded on video.
    3                 5.            Answering paragraph 5 of the Complaint, under the header "Preliminary
    4 Allegations": Defendants admit that the incident at issue in this action occurred on
    5 April 15, 2015, involving decedent Joseph Slater. As to the remaining allegations of
    6 this paragraph, at present, Defendants do not have sufficient knowledge, or information
    7 or belief, to enable Defendants to answer the remaining allegations contained within
    8 such paragraph, as stated, and on those grounds deny generally and specifically each
    9 and every remaining allegation contained therein.
  10                  6.            Answering paragraph 6 of the Complaint, under the header "Preliminary
  11 Allegations": Defendants admit that the incident at issue in this action involved
  12 deputies of the San Bernardino Sheriff's Department. As to the remaining allegations
  13 of this paragraph, Defendants deny generally and specifically each and every allegation,
  14 as stated, therein.
  15                  7.            Answering paragraph 7 of the Complaint, under the header "Preliminary
  16 Allegations": Defendants deny generally and specifically each and every allegation, as
  17 stated, therein.
  18                  8.            Answering paragraph 8 of the Complaint, under the header "Preliminary
  19 Allegations": Defendants deny generally and specifically each and every allegation, as
  20 stated, therein.
  21                  9.            Answering paragraph 9 of the Complaint, under the header "Preliminary
  22 Allegations": Defendants deny generally and specifically each and every allegation, as
  23 stated, therein.
  24                  10.           Answering paragraph 10 of the Complaint, under the header "Preliminary
  25 Allegations": Defendants deny that positional and/or restraint asphyxia was a cause of
  26 death. Defendants also deny that Slater was placed inside the police vehicle with his
  27 face, chest, and/or stomach facing downward for an extended period of time.
  28 Defendants further specifically deny that decedent Joseph Slater was hog-tied. As to

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    1 the remaining allegations of this paragraph, at present, Defendants do not have
    2 sufficient knowledge, or information or belief, to enable Defendants to answer the
    3 remaining allegations contained within such paragraph, as stated, and on those grounds
    4 deny generally and specifically each and every remaining allegation contained therein.
    5                 11.           Answering paragraph 11 of the Complaint, under the header "Preliminary
    6 Allegations": Defendants specifically deny that video recording evidences that decedent
    7 Joseph Slater was cooperative at all times and did not show or display any type of
    8 resistance while apprehended. Defendants also specifically deny that decedent Joseph
    9 Slater was hog-tied. As to the remaining allegations of this paragraph, at present,
  10 Defendants do not have sufficient knowledge, or information or belief, to enable
  11 Defendants to answer the remaining allegations contained within such paragraph, as
  12 stated, and on those grounds deny generally and specifically each and every remaining
  13 allegation contained therein.
  14                  12.           Answering paragraph 12 of the Complaint, under the header "Preliminary
  15 Allegations": Defendants deny that Slater was placed in a position with his face, chest,
  16 and/or stomach facing downward for an extended period of time. Defendants do not
  17 have sufficient knowledge, or information or belief, to enable defendants to answer the
  18 allegations contained within this paragraph, as stated, and on those grounds deny
  19 generally and specifically each and every allegation contained therein.
  20                  13.           Answering paragraph 13 of the Complaint, under the header "Preliminary
  21 Allegations": Defendants do not have sufficient knowledge, or information or belief, to
  22 enable defendants to answer the allegations contained within this paragraph, as stated,
  23 and on those grounds deny generally and specifically each and every allegation
  24 contained therein.
  25                  14.           Answering paragraph 14 of the Complaint, under the header "Preliminary
  26 Allegations": Defendants specifically deny that there was trauma to decedent Joseph
  27 Slater’s face. As to the remaining allegations of this paragraph, at present, Defendants
  28 do not have sufficient knowledge, or information or belief, to enable Defendants to

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    1 answer the remaining allegations contained within such paragraph, as stated, and on
    2 those grounds deny generally and specifically each and every remaining allegation
    3 contained therein.
    4                 15.           Answering paragraph 15 of the Complaint, under the header "Preliminary
    5 Allegations": Defendants deny generally and specifically each and every allegation
    6 contained therein. On November 5, 2016, the Court dismissed with prejudice unnamed
    7 defendants. [Doc. 23] Thus, Doe Defendants have been dismissed with prejudice.
    8                 16.           Answering paragraph 16 of the Complaint, under the header "Preliminary
    9 Allegations": Defendants deny generally and specifically each and every allegation
  10 contained therein. On November 5, 2016, the Court dismissed with prejudice unnamed
  11 defendants. [Doc. 23] Thus, Doe Defendants have been dismissed with prejudice.
  12                  17.           Answering paragraph 17 of the Complaint, under the header "Preliminary
  13 Allegations": Defendants do not have sufficient knowledge, or information or belief, to
  14 enable Defendants to answer whether each Defendant knew decedent Joseph Slater was
  15 mentally ill, and on those grounds specifically and generally denies the same. As to the
  16 remaining allegations of this paragraph, at present, Defendants do not have sufficient
  17 knowledge, or information or belief, to enable Defendants to answer the remaining
  18 allegations contained within such paragraph, as stated, and on those grounds deny
  19 generally and specifically each and every remaining allegation contained therein. To
  20 the extent this paragraph alleges Municipal (Monell) Liability, Plaintiffs are reminded
  21 that this Court dismissed with prejudice Municipal (Monell) Liability from this action
  22 against any and all defendants. [Doc. 23]
  23                  18.           Answering paragraph 18 of the Complaint, under the header "Preliminary
  24 Allegations": Defendants deny generally and specifically each and every allegation
  25 contained therein. To the extent this paragraph alleges Municipal (Monell) Liability,
  26 Plaintiffs are reminded that this Court dismissed with prejudice Municipal (Monell)
  27 Liability from this action against any and all defendants. [Doc. 23]
  28                  19.           Answering paragraph 19 of the Complaint, under the header "Preliminary

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    1 Allegations": Defendants deny generally and specifically each and every allegation
    2 contained therein. To the extent this paragraph alleges Municipal (Monell) Liability,
    3 Plaintiffs are reminded that this Court dismissed with prejudice Municipal (Monell)
    4 Liability from this action against any and all defendants. [Doc. 23]
    5                 20.           Answering paragraph 20 of the Complaint, under the header "Preliminary
    6 Allegations": Defendants do not have sufficient knowledge, or information or belief, to
    7 enable defendants to answer the allegations contained within this paragraph, as stated,
    8 and on those grounds deny generally and specifically each and every allegation
    9 contained therein. To the extent this paragraph alleges Municipal (Monell) Liability,
  10 Plaintiffs are reminded that this Court dismissed with prejudice Municipal (Monell)
  11 Liability from this action against any and all defendants. [Doc. 23]
  12                  21.           Answering paragraph 21 of the Complaint, under the header "Preliminary
  13 Allegations": Defendants do not have sufficient knowledge, or information or belief, to
  14 enable defendants to answer the allegations contained within this paragraph, as stated,
  15 and on those grounds deny generally and specifically each and every allegation
  16 contained therein. To the extent this paragraph alleges Municipal (Monell) Liability,
  17 Plaintiffs are reminded that this Court dismissed with prejudice Municipal (Monell)
  18 Liability from this action against any and all defendants. [Doc. 23]
  19                  22.           Answering paragraph 22 of the Complaint, under the header "Preliminary
  20 Allegations": Defendants deny generally and specifically each and every allegation
  21 contained therein. To the extent this paragraph alleges Municipal (Monell) Liability,
  22 Plaintiffs are reminded that this Court dismissed with prejudice Municipal (Monell)
  23 Liability from this action against any and all defendants. [Doc. 23]
  24                  23.           Answering paragraph 23 of the Complaint, under the header "Parties":
  25 Defendants do not have sufficient knowledge, or information or belief, to enable
  26 defendants to answer the allegations contained within this paragraph, as stated, and on
  27 those grounds deny generally and specifically each and every allegation contained
  28 therein – and Defendants deny all liability and/or wrongdoing.

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    1                 24.           Answering paragraph 24 of the Complaint, under the header "Parties":
    2 Defendants do not have sufficient knowledge, or information or belief, to enable
    3 defendants to answer the allegations contained within this paragraph, as stated, and on
    4 those grounds deny generally and specifically each and every allegation contained
    5 therein.
    6                 25.           Answering paragraph 25 of the Complaint, under the header "Parties":
    7 Defendants deny generally and specifically each and every allegation contained therein.
    8 On November 5, 2016, the Court dismissed with prejudice from plaintiffs' operative
    9 claims Tina Slater and David Bouchard as plaintiffs or parties to the cause of action for
  10 wrongful death. [Doc. 23]
  11                  26.           Answering paragraph 26 of the Complaint, under the header "Parties":
  12 Defendants deny generally and specifically each and every allegation contained therein.
  13 On November 5, 2016, the Court dismissed with prejudice from plaintiffs' operative
  14 claims Tina Slater and David Bouchard as plaintiffs or parties to the cause of action for
  15 wrongful death. [Doc. 23]
  16                  27.           Answering paragraph 27 of the Complaint, under the header "Parties":
  17 Defendants do not have sufficient knowledge, or information or belief, to enable
  18 defendants to answer the allegations contained within this paragraph, as stated, and on
  19 those grounds deny generally and specifically each and every allegation contained
  20 therein.
  21                  28.           Answering paragraph 28 of the Complaint, under the header "Parties":
  22 Defendants admit that the County of San Bernardino is a political subdivision located in
  23 the State of California within the territorial jurisdiction of this Court.
  24                  29.           Answering paragraph 29 of the Complaint, under the header "Parties":
  25 Defendants admit that Defendant Deputy Shannon Deasey was employed by the
  26 County of San Bernardino. As to the remaining allegations in this paragraph, at
  27 present, Defendants do not have sufficient knowledge, or information or belief, to
  28 enable defendants to answer the remaining allegations contained within such paragraph,

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    1 as stated, and on those grounds deny generally and specifically each and every
    2 remaining allegation contained therein.
    3                 30.           Answering paragraph 30 of the Complaint, under the header "Parties":
    4 Defendants admit that Defendant Deputy Peter Gentry was employed by the County of
    5 San Bernardino. As to the remaining allegations in this paragraph, at present,
    6 Defendants do not have sufficient knowledge, or information or belief, to enable
    7 defendants to answer the remaining allegations contained within such paragraph, as
    8 stated, and on those grounds deny generally and specifically each and every remaining
    9 allegation contained therein.
  10                  31.           Answering paragraph 31 of the Complaint, under the header "Parties":
  11 Defendants admit that Defendant Deputy Gary Brandt was employed by the County of
  12 San Bernardino. As to the remaining allegations in this paragraph, at present,
  13 Defendants do not have sufficient knowledge, or information or belief, to enable
  14 Defendants to answer the remaining allegations contained within such paragraph, as
  15 stated, and on those grounds deny generally and specifically each and every remaining
  16 allegation contained therein.
  17                  32.           Answering paragraph 32 of the Complaint, under the header "Parties":
  18 Defendants admit that Defendant Sergeant Mike Rude was employed by the County of
  19 San Bernardino. As to the remaining allegations in this paragraph, at present,
  20 Defendants do not have sufficient knowledge, or information or belief, to enable
  21 defendants to answer the remaining allegations contained within such paragraph, as
  22 stated, and on those grounds deny generally and specifically each and every remaining
  23 allegation contained therein.
  24                  33.           Answering paragraph 33 of the Complaint, under the header "Parties": On
  25 November 5, 2016, the Court dismissed with prejudice unnamed defendants. [Doc. 23]
  26 Thus, Doe Defendants have been dismissed with prejudice.
  27                  34.           Answering paragraph 34 of the Complaint, under the header "Parties": On
  28 November 5, 2016, the Court dismissed with prejudice unnamed defendants. [Doc. 23]

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    1 Thus, Doe Defendants have been dismissed with prejudice.
    2                 35.           Answering paragraph 35 of the Complaint, under the header "Parties":
    3 Defendants do not have sufficient knowledge, or information or belief, to enable
    4 Defendants to answer the allegations contained within this paragraph, as stated, and on
    5 those grounds deny generally and specifically each and every allegation contained
    6 therein.
    7                 36.           Answering paragraph 36 of the Complaint, under the header "Parties":
    8 Defendants deny generally and specifically each and every allegation contained therein.
    9                 37.           Answering paragraph 37 of the Complaint, under the header "First Cause
  10 of Action": This paragraph re-alleges and incorporates plaintiff's allegations in the
  11 preceding paragraphs.                                      Accordingly, in response to this paragraph, Defendants
  12 incorporate by reference here Defendants' answers to each of the corresponding and
  13 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
  14 paragraph alleges specific facts not otherwise incorporated herein above, at present,
  15 Defendants do not have sufficient knowledge, or information or belief, to enable
  16 Defendants to answer the remaining allegations contained within such paragraph, and
  17 on those grounds, deny generally and specifically each and every remaining allegation
  18 contained therein – and Defendants deny all liability and/or wrongdoing.
  19                  38.           Answering paragraph 38 of the Complaint, under the header "First Cause
  20 of Action": Defendants admit that the Fourth Amendment of the United States
  21 Constitution guarantees all persons the right to be free from unreasonable detention.
  22 Defendants admit that 42 U.S.C. § 1983 provides a private right of action for conduct
  23 which violates the aforementioned right.
  24                  39.           Answering paragraph 39 of the Complaint, under the header "First Cause
  25 of Action": Defendants admit that on August 15, 2015, Deputies made contact with
  26 decedent Joseph Slater. Defendants specifically deny that decedent Joseph Slater was
  27 not committing a crime. Defendants had objectively reasonable and articulable factual
  28 basis to suspect decedent Joseph Slater had committed a crime. As to the remaining

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    1 allegations in this paragraph, Defendants deny generally and specifically each and
    2 every allegation contained therein.
    3                 40.           Answering paragraph 40 of the Complaint, under the header "First Cause
    4 of Action": Defendants deny generally and specifically each and every allegation
    5 contained therein.
    6                 41.           Answering paragraph 41 of the Complaint, under the header "First Cause
    7 of Action": Defendants deny generally and specifically each and every allegation
    8 contained therein.
    9                 42.           Answering paragraph 42 of the Complaint, under the header "First Cause
   10 of Action": Defendants deny generally and specifically each and every allegation
   11 contained therein.
   12                 43.           Answering paragraph 43 of the Complaint, under the header "First Cause
   13 of Action": Defendants deny generally and specifically each and every allegation
   14 contained therein.
   15                 44.           Answering paragraph 44 of the Complaint, under the header "First Cause
   16 of Action": Defendants deny generally and specifically each and every allegation
   17 contained therein.
   18                 45.           Answering paragraph 45 of the Complaint, under the header "Second
   19 Cause of Action": This paragraph re-alleges and incorporates plaintiff's allegations in
   20 the preceding paragraphs. Accordingly, in response to this paragraph, Defendants
   21 incorporate by reference here Defendants' answers to each of the corresponding and
   22 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
   23 paragraph alleges specific facts not otherwise incorporated herein above, at present,
   24 Defendants do not have sufficient knowledge, or information or belief, to enable
   25 Defendants to answer the remaining allegations contained within such paragraph, and
   26 on those grounds, deny generally and specifically each and every remaining allegation
   27 contained therein – and Defendants deny all liability and/or wrongdoing.
   28                 46.           Answering paragraph 46 of the Complaint, under the header "Second

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    1 Cause of Action": Defendants deny generally and specifically each and every allegation
    2 contained therein.
    3                 47.           Answering paragraph 47 of the Complaint, under the header "Second
    4 Cause of Action": Defendants deny generally and specifically each and every allegation
    5 contained therein.
    6                 48.           Answering paragraph 48 of the Complaint, under the header "Second
    7 Cause of Action": Defendants deny generally and specifically each and every allegation
    8 contained therein.
    9                 49.           Answering paragraph 49 of the Complaint, under the header "Second
   10 Cause of Action": Defendants deny generally and specifically each and every allegation
   11 contained therein.
   12                 50.           Answering paragraph 50 of the Complaint, under the header "Second
   13 Cause of Action": Defendants deny all of the allegations in this paragraph, and
   14 Defendants deny that defendant Deputies may be held liable for punitive damages
   15 under state or federal law under any circumstances.
   16                 51.           Answering paragraph 51 of the Complaint, under the header "Second
   17 Cause of Action": Defendants deny all of the allegations in this paragraph, and
   18 Defendants deny that defendant Deputies may be held liable for punitive damages
   19 under state or federal law under any circumstances.
   20                 52.           Answering paragraph 52 of the Complaint, under the header "Third Cause
   21 of Action": This paragraph re-alleges and incorporates plaintiff's allegations in the
   22 preceding paragraphs.                                     Accordingly, in response to this paragraph, Defendants
   23 incorporate by reference here Defendants' answers to each of the corresponding and
   24 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
   25 paragraph alleges specific facts not otherwise incorporated herein above, at present,
   26 Defendants do not have sufficient knowledge, or information or belief, to enable
   27 Defendants to answer the remaining allegations contained within such paragraph, and
   28 on those grounds, deny generally and specifically each and every remaining allegation

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    1 contained therein – and Defendants deny all liability and/or wrongdoing.
    2                 53.           Answering paragraph 53 of the Complaint, under the header "Third Cause
    3 of Action": Defendants deny generally and specifically each and every allegation
    4 contained therein.
    5                 54.           Answering paragraph 54 of the Complaint, under the header "Third Cause
    6 of Action": Defendants deny generally and specifically each and every allegation
    7 contained therein.
    8                 55.           Answering paragraph 55 of the Complaint, under the header "Third Cause
    9 of Action": Defendants deny generally and specifically each and every allegation
   10 contained therein.
   11                 56.           Answering paragraph 56 of the Complaint, under the header "Fourth Cause
   12 of Action": This paragraph re-alleges and incorporates plaintiff's allegations in the
   13 preceding paragraphs.                                     Accordingly, in response to this paragraph, Defendants
   14 incorporate by reference here Defendants' answers to each of the corresponding and
   15 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
   16 paragraph alleges specific facts not otherwise incorporated herein above, at present,
   17 Defendants do not have sufficient knowledge, or information or belief, to enable
   18 Defendants to answer the remaining allegations contained within such paragraph, and
   19 on those grounds, deny generally and specifically each and every remaining allegation
   20 contained therein – and Defendants deny all liability and/or wrongdoing.
   21                 57.           Answering paragraph 57 of the Complaint, under the header "Fourth Cause
   22 of Action": Defendants deny generally and specifically each and every allegation
   23 contained therein.
   24                 58.           Answering paragraph 58 of the Complaint, under the header "Fourth Cause
   25 of Action": Defendants deny generally and specifically each and every allegation
   26 contained therein.
   27                 59.           Answering paragraph 59 of the Complaint, under the header "Fifth Cause
   28 of Action": This paragraph re-alleges and incorporates plaintiff's allegations in the

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    1 preceding paragraphs.                                     Accordingly, in response to this paragraph, Defendants
    2 incorporate by reference here Defendants' answers to each of the corresponding and
    3 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
    4 paragraph alleges specific facts not otherwise incorporated herein above, at present,
    5 Defendants do not have sufficient knowledge, or information or belief, to enable
    6 Defendants to answer the remaining allegations contained within such paragraph, and
    7 on those grounds, deny generally and specifically each and every remaining allegation
    8 contained therein – and Defendants deny all liability and/or wrongdoing.
    9                 60.           Answering paragraph 60 of the Complaint, under the header "Fifth Cause
   10 of Action": Defendants deny generally and specifically each and every allegation
   11 contained therein. On November 5, 2016, the Court dismissed with prejudice unnamed
   12 defendants. [Doc. 23] Thus, Doe Defendants have been dismissed with prejudice.
   13                 61.           Answering paragraph 61 of the Complaint, under the header "Fifth Cause
   14 of Action": Defendants deny generally and specifically each and every allegation
   15 contained therein.
   16                 62.           Answering paragraph 62 of the Complaint, under the header "Fifth Cause
   17 of Action": Defendants deny generally and specifically each and every allegation
   18 contained therein.
   19                 63.           Answering paragraph 63 of the Complaint, under the header "Fifth Cause
   20 of Action": Defendants deny generally and specifically each and every allegation
   21 contained therein.
   22                 64.           Answering paragraph 64 of the Complaint, under the header "Fifth Cause
   23 of Action": Defendants deny generally and specifically each and every allegation
   24 contained therein.
   25                 65.           Answering paragraph 65 of the Complaint, under the header "Fifth Cause
   26 of Action": Defendants deny generally and specifically each and every allegation
   27 contained therein.
   28                 66.           Answering paragraph 66 of the Complaint, under the header "Fifth Cause

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    1 of Action": Defendants deny generally and specifically each and every allegation
    2 contained therein.
    3                 67.           Answering paragraph 67 of the Complaint, under the header "Fifth Cause
    4 of Action": This paragraph re-alleges and incorporates plaintiff's allegations in the
    5 preceding paragraphs.                                     Accordingly, in response to this paragraph, Defendants
    6 incorporate by reference here Defendants' answers to each of the corresponding and
    7 aforementioned allegations/paragraphs of plaintiffs' Complaint. To the extent that this
    8 paragraph alleges specific facts not otherwise incorporated herein above, at present,
    9 Defendants do not have sufficient knowledge, or information or belief, to enable
   10 Defendants to answer the remaining allegations contained within such paragraph, and
   11 on those grounds, deny generally and specifically each and every remaining allegation
   12 contained therein – and Defendants deny all liability and/or wrongdoing.
   13                 68.           Answering paragraph 68 of the Complaint, under the header "Sixth Cause
   14 of Action": Defendants deny generally and specifically each and every allegation
   15 contained therein.
   16                 69.           Answering paragraph 69 of the Complaint, under the header "Sixth Cause
   17 of Action": Defendants deny generally and specifically each and every allegation
   18 contained therein. On November 5, 2016, the Court dismissed with prejudice unnamed
   19 defendants. [Doc. 23] Thus, Doe Defendants have been dismissed with prejudice. To
   20 the extent any other previously dismissed claims and/or parties are implicitly or
   21 explicitly raised, Defendants deny generally and specifically each and every allegation
   22 contained therein.
   23                 70.           Answering paragraph 70 of the Complaint, under the header "Sixth Cause
   24 of Action": Defendants deny generally and specifically each and every allegation
   25 contained therein. On November 5, 2016, the Court dismissed with prejudice unnamed
   26 defendants. [Doc. 23] Thus, Doe Defendants have been dismissed with prejudice. To
   27 the extent any other previously dismissed claims and/or parties are implicitly or
   28 explicitly raised, Defendants deny generally and specifically each and every allegation

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    1 contained therein.
    2                 71.           Answering paragraph 71 of the Complaint, under the header "Sixth Cause
    3 of Action": Defendants deny generally and specifically each and every allegation
    4 contained therein.
    5                 72.           Answering paragraph 72 of the Complaint, under the header "Sixth Cause
    6 of Action": Defendants deny generally and specifically each and every allegation
    7 contained therein.
    8                 73.           Answering paragraph 73 of the Complaint, under the header "Sixth Cause
    9 of Action": Defendants deny generally and specifically each and every allegation
   10 contained therein.
   11                 74.           Answering plaintiffs’ Prayer for Damages, Defendants deny all liability to
   12 plaintiffs, including, but not limited to, all liability for any damages (general, special,
   13 exemplary or otherwise), penalties, fees, or costs of any kind, or for any relief of any
   14 kind from any of the Defendants to any of the plaintiffs.
   15                 75.           To the extent plaintiff(s) assert(s) any other claims or contentions not
   16 specifically addressed herein above, Defendants generally and specifically deny each
   17 and every remaining allegation and/or claim.
   18                 76.           To the extent plaintiff(s) assert(s) claims or contentions previously
   19 dismissed with prejudice by this Court, Defendants generally and specifically deny each
   20 and every allegation and/or claim.
   21 / / /
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    1                                                             AFFIRMATIVE DEFENSES
    2                 77.           As separate and affirmative defenses, defendants allege as follows1:
    3                                                      FIRST AFFIRMATIVE DEFENSE
    4                                                                     (Statute of Limitations)
    5                 78.           Plaintiffs' Complaint fails to state a claim upon which relief can be
    6 granted.
    7                 79.           Plaintiffs' Complaint also fails to state a claim against any defendant in this
    8 action.
    9                 80.           Plaintiffs' and/or decedent's claims are time-barred by the operative
   10 statute(s) of limitations (including, but not limited to, California Code of Civil
   11 Procedure § 335.1).
   12                                                   SECOND AFFIRMATIVE DEFENSE
   13                                                                (Tort Claims Act Violation)
   14                 81.           This action is barred by the Plaintiffs' failure to comply with the
   15 government tort claims presentation requirements, California Government Code § 900,
   16 et seq., including but not limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911, 911.2,
   17 911.4, 945.4, 945.6, 946.6, 950.2, and 950.6, to the extent applicable.
   18                 82.           The Complaint is barred based on plaintiffs' failure to exhaust
   19 administrative remedies prior to filing this lawsuit.
   20                 83.           Plaintiffs' recovery is barred for failure to timely comply with the
   21 provisions of the claims statutes, including, but not limited to California Government
   22 Code §§ 901, 905, 905.2, 911.2, 945.4, 945.6, 950.2.
   23                 84.           Plaintiffs' recovery is barred because the causes of action stated in the
   24 complaint do not correspond with the legal claims asserted in plaintiffs' written claim.
   25 The Complaint thereby alleges legal bases for recovery which are not fairly reflected in
   26
   27   1
          For purposes of the affirmative defenses, affirmative defenses that reference “plaintiffs” shall also be construed to
   28   apply, wherever feasible, to plaintiffs' decedent.


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    1 the written claim.
    2                                                     THIRD AFFIRMATIVE DEFENSE
    3                                                       (Waiver, Estoppel, Unclean Hands)
    4                 85.           Defendants allege that plaintiffs' action is barred by reason of conduct,
    5 actions and inactions of plaintiffs which amount to and constitute a waiver of any right
    6 plaintiffs may or might have had in reference to the matters and things alleged in the
    7 Complaint, or that otherwise estop plaintiffs from recovery in this action, including but
    8 not limited to the doctrine of unclean hands.
    9                                                  FOURTH AFFIRMATIVE DEFENSE
   10                                                             (Failure to Mitigate Damages)
   11                 86.           Plaintiffs' claims are barred or limited to the extent plaintiffs failed to
   12 mitigate plaintiffs' injuries or damages, if there were any. Plaintiffs have failed to
   13 mitigate the damages, if any, which plaintiffs have sustained, and to exercise reasonable
   14 care to avoid the consequences of harms, if any, in that, among other things, plaintiffs
   15 have failed to use reasonable diligence in caring for any injuries, failed to use
   16 reasonable means to prevent aggravation of any injuries and failed to take reasonable
   17 precautions to reduce any injuries and damages.
   18                                                      FIFTH AFFIRMATIVE DEFENSE
   19                                           (Contributory and/or Comparative Liability)
   20                 87.           Plaintiffs' claims are barred or limited by plaintiffs' and/or decedent’s
   21 contributory/comparative negligence or other conduct, acts, or omissions, and to the
   22 extent any plaintiffs suffered any injury or damages, it was the result of plaintiffs'
   23 and/or decedent’s own negligent or deliberate actions or omissions.
   24                 88.           Plaintiffs' recovery is barred because any injury or damage suffered by
   25 plaintiffs' decedent and/or to plaintiffs was caused solely by reason of the plaintiffs'
   26 decedent’s wrongful acts and conduct and the willful resistance to a peace officer in the
   27 discharge their duties. The conduct set forth in the Complaint, if and to the extent it
   28 occurred, was privileged and justified and done with a good faith belief that it was

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    1 correct and no action may be taken against the answering defendants on account of such
    2 conduct.
    3                                                      SIXTH AFFIRMATIVE DEFENSE
    4                                 (Public Entity/Employee Immunity for Others' Torts)
    5                 89.           Plaintiffs' recovery is barred because public entities and employees are
    6 immune from liability for any injury caused by the act or omission of another person.
    7 Gov. Code §§ 815 et seq., 820.2 et seq.
    8                 90.           The answering defendants are informed and believe and thereon allege that
    9 if plaintiffs sustained any injury or damages, such injury or damages were solely caused
   10 or contributed to by the wrongful conduct of other defendants and/or entities or persons
   11 other than the answering defendant. To the extent that plaintiffs' damages were so
   12 caused, any recovery by plaintiffs as against the answering defendant should be subject
   13 to proportionately comparative equitable indemnity/contribution from such third
   14 parties.
   15                                                 SEVENTH AFFIRMATIVE DEFENSE
   16                           (Public Entity/Employee Immunity for Discretionary Acts)
   17                 91.           There is no liability for any injury or damages, if any there were, resulting
   18 from an exercise of discretion vested in a public employee, whether or not such
   19 discretion be abused. Gov. Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.
   20                 92.           Plaintiffs' recovery is barred because public entities and employees are
   21 immune from liability for discharging their mandatory duties with reasonable diligence.
   22                 93.           A public employee may not be held liable for injuries or damages, if any,
   23 caused by failure to adopt or by adoption of an enactment or by failure to enforce an
   24 enactment and/or law, for an injury caused by his issuance, denial, suspension or
   25 revocation or by his failure or refusal to issue, deny, suspend or revoke, any permit,
   26 license, certificate, approval, order, or similar authorization, where he is authorized by
   27 enactment to determine whether or not such authorization should be issued, denied,
   28 suspended or revoked, pursuant to Government Code §§ 818.2, 818.4, 818.8, 821 and

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    1 821.2. Based thereon, each of the answering defendants are immune from liability for
    2 any injuries claimed by plaintiffs, herein.
    3                 94.           This/these defendant(s) are immune for any detriment resulting from any
    4 of its actions or omissions at the time of the incident of which plaintiff complains
    5 pursuant to Government Code § 810 et seq., 815 et seq., 820 et seq., and 845 et seq.,
    6 including, but not limited to, §§ 810, 810.2, 810.4, 810.6, 810.8, 811, 811.2, 811.4,
    7 811.6, 811.8, 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8, 822.2, 830.5, 830.6, 835.4,
    8 844.6, and Government Code §§ 854, et seq., including, but not limited to, §§ 845.6,
    9 854.6, 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.
   10                                                   EIGHTH AFFIRMATIVE DEFENSE
   11                                                                  (Public Entity Immunity)
   12                 95.           To the extent that the Complaint attempts to predicate liability upon any
   13 public entity defendants or any employees thereof for purported negligence in retention,
   14 hiring, employment, training, or supervision of any public employee, such liability is
   15 barred by Government Code sections 815.2 and 820.2 and Herndon v. County of Marin
   16 (1972) 25 Cal. App. 3d 933, 935, 936, rev’d on other grounds by Sullivan v. County of
   17 Los Angeles (1974) 12 Cal.3d 710; and by the lack of any duty running to any
   18 plaintiffs; by the fact that any such purported act or omission is governed exclusively
   19 by statute and is outside the purview of any public employees’ authority; and by the
   20 failure of any such acts or omissions to be the proximate or legal cause of any injury
   21 alleged in the Complaint. See de Villers v. County of San Diego, 156 Cal.App.4th 238,
   22 251-253, 255-256 (2007).
   23                 96.           These defendants may not be held liable on a respondeat superior theory
   24 for any negligent or wrongful act or omission on the part of any subordinate. Cal.
   25 Government Code §§ 844.6, 845.6; Cal. Civil Code § 2351; Malloy v. Fong (1951) 37
   26 Cal.2d 356, 378-379; Monell v. Department of Social Services of the City of New York
   27 (1978) 436 U.S. 658; Larez v. City of Los Angeles (9th Cir. 1991) 946 F.2d 630, 645-
   28 646; cf. City of Canton v. Harris, 489 U.S. 378, 388-389 (1989); City of Los Angeles v.

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    1 Heller, 475 U.S. 796 (1986).
    2                                                     NINTH AFFIRMATIVE DEFENSE
    3                                         (Qualified Immunity & Good Faith Immunity)
    4                 97.           Defendants and their agents or officers at all times relevant to this action
    5 acted reasonably and prudently under the circumstances. Defendants therefore assert
    6 the individual defendants’ Qualified Immunity from liability to the fullest extent
    7 applicable.
    8                 98.           Defendant(s) is/are immune from liability under the Federal Civil Rights
    9 Act because they acted in good faith with an honest and reasonable belief that their
   10 actions were necessary and appropriate. Defendant(s) is/are immune from liability
   11 under the Federal Civil Rights Act because a reasonable police officer could believe
   12 that their acts and conduct were appropriate. Defendant(s) is/are immune from liability
   13 under the Federal Civil Rights Act because their conduct did not violate clearly
   14 established rights. Defendant(s) is/are also immune from liability under the doctrine of
   15 Qualified Immunity.
   16                 99.           At all relevant times, defendants acted within the scope of discretion, with
   17 due care, and good faith fulfillment of responsibilities pursuant to applicable statutes,
   18 rules and regulation, within the bounds of reason, and with the good faith belief that
   19 their actions comported with all applicable federal and state laws. Harlow v. Fitzgerald
   20 (1982) 457 U.S. 800; Cal Gov. Code §§ 815.2 and 820.2.
   21                                                     TENTH AFFIRMATIVE DEFENSE
   22                                                                       (Assumption of Risk)
   23                 100. At the time and place referred to in the Complaint for Damages, and before
   24 such event, plaintiffs' decedent knew, appreciated, and understood each and every risk
   25 involved in placing himself in the position which plaintiff then assumed, and willingly,
   26 knowingly and voluntarily assumed each of such risks, including, but not limited to, the
   27 risk of suffering personal bodily injury, lawful deprivation of right(s), or death.
   28

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    1                                                                   PRAYER FOR RELIEF
    2                 WHEREFORE, the answering Defendant(s) pray as follows:
    3 1.              That Plaintiff(s) take nothing by this action;
    4 2.              That Defendant(s) be awarded attorneys’ fees and costs of this suit and costs of
    5                 proof; and
    6 3.              That Defendant(s) be awarded such other relief as the Court deems just.
    7
    8 DATED: August 21, 2017                                                           MANNING & KASS
                                                                                       ELLROD, RAMIREZ, TRESTER LLP
    9
   10
   11                                                                                  By:         /s/ Tony M. Sain
   12                                                                                           Eugene P. Ramirez, Esq.
                                                                                                Tony M. Sain, Esq.
   13
                                                                                                Andrea K. Kornblau, Esq.
   14                                                                                        Attorneys for Defendants,
   15                                                                                        COUNTY OF SAN BERNARDINO; DEP.
                                                                                             SHANDON DEASEY; DEP. PETER
   16                                                                                        GENTRY; DEP. GARY BRANDT; AND
   17                                                                                        SGT. MIKE RUDE

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    1                                                            DEMAND FOR JURY TRIAL
    2                 Defendants hereby demand a trial before a jury on all issues presented by
    3 plaintiff’s operative Complaint that are or may be triable to a jury.
    4
    5 DATED: August 21, 2017                                                           MANNING & KASS
                                                                                       ELLROD, RAMIREZ, TRESTER LLP
    6
    7
    8                                                                                  By:         /s/ Tony M. Sain
    9                                                                                           Eugene P. Ramirez, Esq.
                                                                                                Tony M. Sain, Esq.
   10
                                                                                                Andrea K. Kornblau, Esq.
   11                                                                                        Attorneys for Defendants,
   12                                                                                        COUNTY OF SAN BERNARDINO; DEP.
                                                                                             SHANDON DEASEY; DEP. PETER
   13                                                                                        GENTRY; DEP. GARY BRANDT; AND
   14                                                                                        SGT. MIKE RUDE

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